ILND 44 (Rev 071017) Gabel}: 7B-of, 3611 DeGymenitey? Flats PR4e418 Page 1 of 1 PagelD #:18 Cer

The ILND 44 civil Cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (See instructions on next page of this form.)

I. (a) PLAINTIFFS

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\LEvv S4oCA
(b) County of Residence of First Listed Plaipgj
(Except in U.S. play self é e DD

(c) Attorneys (firm name, address, and telephone number) MAY 2 2 2018 gt.

OMAS G. BRUTON
CLERK U.S. DISTRICT COURT

DEFENDANTS

City F chi coge- 270% |,

County of Residence of First Listed Defendant
(In U.S. plaintiff cases only)

Note: In land condemnation cases, use the location of the tract of land involved.

Attorneys (if known)

II. BASIS OF JURISDICTION (check ane box, only.) II. CITIZENSHIP OF PRINCIPAL PARTIES (for Diversity Cases Only.)
(Check one box, only for plaintiff and one box for defendant.)
O11 US. Government Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government not a party) Citizen of This State mx 0 1 Incorporated or Principal Place =] 4 i
of Business in This State
(2. US. Government O14 Diversity Citizen of Another State O12 (C 2 Incorporated and Principal Place [7] 5 Os
Defendant (Indicate citizenship of parties in Item IIL) of Business in Another State
Citizen or Subject of a O3 C7 3 Foreign Nation 1 6 Oo
Foreign Country

IV. NATURE OF SUIT (Check one box, only.)

s: Judge: Charles R. Norgle, Sr
* Magistrate: Sidney |. Schenkier

PROPERTY RIGHTS
0 820 Copyrights
O 830 Patent
0 835 Patent ~ Abbreviated
New Drug Application
O 840 Trademark

I CONTRACT TORTS PRISONER PETITIONS _|
oO 110 Insurance PERSONAL INJURY PERSONAL INJURY Oo seer “ ~
(0 120 Marine 0 310 Airplane 1 365 Personal Injury - H
(7 130 Miller Act 1 315 Airplane Product Product Liability O) 53
1 140 Negotiable Instrument Liability (0 367 Health Care Os? 48-cy-03611
01150 Recovery of Overpayment 0 320 Assault, Libel & Slander Pharmaceutical Os
& Enforcement of Judgment 0 330 Federal Employers” Personal Injury Os
oO 151 Medicare Act Liability Product Liability Os
(7152 Recovery of Defaulted Student 0 340 Marine 1 368 Asbestos Personal Injury O s¢
Loans (Excludes Veterans) 01 345 Marine Product Liability Product Liability
(7 153 Recovery of Veteran's Benefits 01 350 Motor Vehicle
(1 160 Stockholders’ Suits 01 355 Motor Vehicle PERSONAL PROPERTY
(7 190 Other Contract Product Liability O 370 Other Fraud
(1 195 Contract Product Liability 01 360 Other Personal Injury 0 371 Truth in Lending
1 196 Franchise 0 362 Personal Injury - 1 380 Other Personal
Medical Malpractice Property Damage
0 385 Property Damage
Product Liability
| REAL PROPERTY CIVIL RIGHTS BANKRUPTCY FORFEITURE/PENALTY
(1210 Land Condemnation YR‘ Other Civil Rights (1 422 Appeal 28 USC 158 1 625 Drug Related Seizure
(2 220 Foreclosure 441 Voting 1 423 Withdrawal 28 USC 157 of Property 21 USC 881
(21 230 Rent Lease & Ejectment O 442 Employment 0 690 Other
(F240 Torts to Land O 443 Housing/
oO 245 Tort Product Liability Accommodations IMMIGRATION
(2290 All Other Real Property O1 445 Amer. w/Disabilities - 1 462 Naturalization Application
Employment 1 463 Habeas Corpus -
01 446 Amer. w/Disabilities - Alien Detainee
Other O as (Prisoner Fehon )
465 Other Immigrant
OO 448 Education Actions

DO 861 HIA (1395ff)

O 862 Black Lung (923)

O 863 DIWC/DIWW (405(g))
DO 864 SSID Title XVI

C1 865 RSI (405(g))

SOCIAL SECURITY __

| OTHER STATUTES ]
3729 (a))

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ons
ou Consumicr Ureunt
490 Cable/Sat TV
850 Securities/Commodities:
Exchange
890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

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oO

950 Constitutionality of
State Statutes

FEDERAL TAXES
0 870 Taxes (U.S. Plaintiff
or Defendant)
0 871 IRS—Third Party
26 USC 7609

V. ORIGIN (Check one box, only.)

1 Original
Proceeding

OO 2 Removed from
State Court

O 3
Appellate

Remanded from

Court

oO 4

ty s

Reinstated or
Reopened

Transferred from
Another District

(specif)

O 6 Multidistrict
Litigation

O 8) Multidistrict
Litigation

Direct File

VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and

write a brief statement of cause.)

4) USC Sechows (F983

VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case number and
judge for any associated bankruptcy matter previously adjudicated by a judge of this Court. Use a separate

attachment if necessary.)

VIII. REQUESTED IN
COMPLAINT:

CI Check if this is a class action under Rule

23, F.R.CV.P.

DEMAND $

Check Yes only if demanded in complaint.

JURY DEMAND:

[1 No

IX. RELATED CASE(S)

IF ANY

(See instructions)

Judge

Case Number

Yves

X. Is this a previously dismissed or remanded case? [] Yes []No If yes, Case #

Date

Signature of attorney of record

YG + 2onol Aols

Name of Judge

